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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                              )
    In re:                                                    )        Chapter 11
                                                              )
    VOLUNTEER ENERGY SERVICES, INC.,                          )        Case No. 22-50804
                                                              )
                                        Debtor.1              )        Judge C. Kathryn Preston
                                                              )

            DEBTOR’S FIRST OMNIBUS MOTION FOR ENTRY OF AN ORDER
          (I) AUTHORIZING AND APPROVING THE REJECTION OF CERTAIN
       EXECUTORY CONTRACTS EFFECTIVE AS OF THE PETITION DATE; AND
        (II) WAIVING THE REQUIREMENTS OF BANKRUPTCY RULE 6006(f)(6)

             YOUR RIGHTS MAY BE AFFECTED. This is an omnibus motion pursuant to
             Rule 6006(f) of the Federal Rules of Bankruptcy Procedure. Parties receiving this
                motion should locate their names and contracts listed on Schedule 1 to the
                                proposed order attached hereto as Exhibit A.

             Volunteer Energy Services, Inc., as debtor and debtor in possession (the “Debtor”) in the

above-captioned chapter 11 case (the “Chapter 11 Case”), hereby submits this motion (the

“Motion”) for entry of an order, pursuant to section 365 of title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 6006 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), substantially in the form attached hereto as Exhibit A (the “Proposed

Order”), (i) authorizing the Debtor to reject, effective as of the Petition Date (as defined below),

the contracts (the “Broker Contracts”) identified on Schedule 1 to the Proposed Order between

the Debtor and its Brokers (as defined below); and (ii) waiving the requirement of Bankruptcy

Rule 6006(f)(6). As explained further below, the Broker Contracts are agreements that govern

the business relationship and the commission-based compensation structure that the Debtor has



1
      The last four digits of the Debtor’s federal tax identification are (2693), and the address of the Debtor’s
      corporate headquarters is 790 Windmiller Drive, Pickerington, Ohio 43147.
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with the Brokers. For the avoidance of doubt, all such agreements, and each and every

modification, amendment, and supplement thereto, that the parties identified on Schedule 1

to the Proposed Order have with the Debtor are Broker Contracts, as such term is used in

this Motion, and which the Debtor is seeking to reject by and through this Motion.

         In support of this Motion, the Debtor relies upon the Declaration of David Warner in

Support of the Chapter 11 Petition and First Day Pleadings (Doc. 26) (the “First Day

Declaration”),2 filed on March 26, 2022, and respectfully states as follows:

                                      JURISDICTION AND VENUE

         1.       The United States Bankruptcy Court for the Southern District of Ohio (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference entered in this District.

         2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.       The bases for the relief requested herein are Bankruptcy Code sections 105(a) and

365 and Bankruptcy Rule 6006.

                                               BACKGROUND

I.       The Chapter 11 Case

         4.       On March 25, 2022 (the “Petition Date”), the Debtor commenced the Chapter 11

Case by filing a petition for relief under chapter 11 of the Bankruptcy Code.

         5.       The Debtor continues to operate its business and manage its property as a debtor

in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

         6.       No trustee, examiner, creditors’ committee, or other official committee has been

appointed in this Chapter 11 Case.


2
     Capitalized terms used but not defined herein have the meanings ascribed to them in the First Day Declaration.


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       7.      A description of the Debtor’s business operations, capital structure, and

circumstances leading to the chapter 11 filing is set forth in the First Day Declaration filed

contemporaneously herewith and incorporated herein by reference.

II.    The Executory Contracts

       8.      As set forth in detail in the First Day Declaration, the Debtor is a retail energy

supplier and has historically generated a significant portion of its business through a network of

hundreds of commission-based independent contractors and agents (the “Brokers”). For the most

part, business generated by the Brokers for the Debtor was in the form of municipal aggregation

agreements secured by the Brokers, and the resulting participation in such municipal

aggregations by residents of the municipality.

       9.      The Debtor has an agreement with each of its Brokers that governs the Debtor’s

and each Broker’s business relationship. Under these agreements, the Brokers are generally

entitled to be paid a commission based on the amount of gas or electricity sold to the Debtor’s

customers participating in a municipal aggregation procured by the particular Broker over the

life of the municipal aggregation agreement. The Broker Contracts are the particular agreements

between the Debtor and the Brokers that the Debtor seeks authority to reject by and through this

Motion. The Debtor has determined, in the reasonable exercise of its business judgment, that the

Broker Contracts no longer serve any business purpose and are burdensome to the Debtor’s

bankruptcy estate.

                                     RELIEF REQUESTED

       10.     The Debtor seeks entry of an order, substantially in the form of the Proposed

Order attached hereto as Exhibit A: (a) authorizing the Debtor to reject the Broker Contracts,

and deeming the Broker Contracts rejected, as of the Petition Date; and (b) waiving the



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requirements of Bankruptcy Rule 6006(f)(6).

        11.     For the reasons set forth herein, the Debtor submits that the relief requested is in

the best interests of the Debtor, its estate, creditors, and other parties in interest and therefore

should be granted.

                               BASIS FOR REQUESTED RELIEF

I.      Rejection of the Broker Contracts Constitutes a Sound Exercise of the Debtor’s
        Business Judgment.

        12.     Bankruptcy Code section 365(a) provides that a debtor, “subject to the court’s

approval, may assume or reject any executory contract or unexpired lease.” 11 U.S.C. § 365(a).

It is well-settled in the Sixth Circuit that where “the obligation of both the bankrupt and the other

party to the contract are so far unperformed that the failure of either to complete performance

would constitute a material breach excusing the performance of the other,” a contract is

considered executory. In re Terrell, 892 F.2d 469, 471 n.2 (6th Cir. 1989) (citation omitted).

        13.     Courts routinely approve motions to assume, assume and assign, or reject

executory contracts or unexpired leases upon a showing that the debtor’s decision to take such

action will benefit the debtor’s estate and is an exercise of sound business judgment. Mission

Prod. Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1658 (2019) (“The bankruptcy court

will generally approve [the] choice [to assume or reject an executory contract] under the

deferential ‘business judgment’ rule.”); NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984)

(the traditional standard applied by courts to authorize the rejection of an executory contract is

that of “business judgment”); In re Federated Dept. Stores, Inc., 131 B.R. 808, 811 (Bankr. S.D.

Ohio 1991) (“Courts traditionally have applied the business judgment standard in determining

whether to authorize the rejection of executory contracts and unexpired leases.”); In re

Structurlite Plastics Corp., 86 B.R. 922, 925 (Bankr. S.D. Ohio 1988) (same).


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       14.     Courts generally will not second-guess a debtor’s business judgment concerning

the assumption or rejection of an executory contract or unexpired lease unless there is a showing

of bad faith or gross abuse of discretion. See Allied Tech., Inc. v. R.B. Brunemann & Sons, Inc.,

25 B.R. 484, 495 (Bankr. S.D. Ohio 1982) (“Court approval of a debtor in possession’s

decision . . . should only be withheld if the debtor’s judgment is clearly erroneous, too

speculative, or contrary to the provisions of the Bankruptcy Code, and particularly of 11 U.S.C.

§ 365.”); see also In re Trans World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“A

debtor’s decision to reject an executory contract must be summarily affirmed unless it is the

product of bad faith, or whim or caprice.”) (citation and internal quotation omitted).

“Accordingly, the court should not interfere with or second-guess the debtor’s sound business

judgment unless and until evidence is presented that establishes that the debtor’s decision was

one taken in bad faith or in gross abuse of its retained business discretion.” In re Wheeling-

Pittsburgh Steel Corp., 72 B.R. 845, 849 (Bankr. W.D. Pa. 1987).

       15.     The “business judgment” test is not a strict standard; it merely requires a showing

that either assumption or rejection of the executory contract or unexpired lease will benefit the

debtor’s estate. See NLRB v. Bildisco & Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982)

(noting that the “usual test for rejection of an executory contract is simply whether rejection

would benefit the estate”), aff’d, 465 U.S. 513 (1984). Further, “[s]ection 365 enables the trustee

to maximize the value of the debtor’s estate by assuming executory contracts and unexpired

leases that benefit the estate and rejecting those that do not.” L.R.S.C. Co. v. Rickel Home Ctrs.,

Inc. (In re Rickel Home Ctrs., Inc.), 209 F.3d 291, 298 (3d Cir. 2000). Under the business

judgment test, the debtor need demonstrate only that the assumption or rejection of the executory

contract or unexpired lease will benefit the estate. See Granada Investments, Inc. v. DWG Corp.,



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823 F.Supp. 448, 454 (N.D. Ohio 1993) (“The business judgment rule presumes that in making a

business decision, actions have been taken on an informed basis, in good faith, and in the honest

belief that the action was taken in the best interests of the company.”) (citations omitted); see

Stewart Title Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996)

(section 365 of the Bankruptcy Code “allows a trustee to relieve the bankruptcy estate of

burdensome agreements which have not been completely performed”).

       16.     The Debtor, in its sound business judgment, has determined that rejection of the

Broker Contracts is in the best interests of its estate. As set forth in the First Day Declaration, the

purpose of this Chapter 11 Case is to conduct an orderly winddown of the Debtor’s business

operations. Thus, the Broker Contracts are no longer necessary for or beneficial to the Debtor or

its estate, and, absent rejection, they may create unnecessary and burdensome expenses for the

Debtor’s estate. In addition, the Debtor has determined that no meaningful value would be

realized by the Debtor if the Broker Contracts were assumed and assigned to third parties.

Accordingly, the Broker Contracts should be rejected.

II.     Rejection as of the Petition Date.

       17.     Although Bankruptcy Code section 365 does not specifically address the

retroactive rejection of executory contracts and unexpired leases, numerous courts have

authorized retroactive rejection where principles of equity supported such authorization. See,

e.g., Pac. Shores Dev., LLC v. At Home Corp. (In re At Home Corp.), 392 F.3d 1064, 1065–66

(9th Cir. 2004) (affirming bankruptcy court’s approval of retroactive rejection); Thinking Machs.

Corp. v. Mellon Fin. Servs. Corp. (In re Thinking Machs. Corp.), 67 F.3d 1021, 1028 (1st Cir.

1995) (holding that, with respect to lease rejection pursuant to section 365 of the Bankruptcy

Code, “bankruptcy courts may enter retroactive orders of approval, and should do so when the



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 balance of equities preponderates in favor of such remediation”); In re Artemis Laser & Vein

 Center, LLC, Case No. 14-55300, Docket No. 71 (Bankr. S.D. Ohio Sept. 26, 2014) (ordering

 that the rejection was effective as of the petition date, which was approximately one month prior

 to the date the motion was filed).

        18.     The balance of equities in this Chapter 11 Case favors authorizing the Debtor to

 reject the Broker Contracts effective as of the Petition Date. Any postponement of the effective

 date of rejection of the Broker Contracts may potentially cause the Debtor to incur unnecessary

 administrative expenses under the Broker Contracts without providing any corresponding benefit

 to the Debtor’s estate. Further, allowing the Debtor to reject the Broker Contracts will not unduly

 prejudice the contract counterparties to the Broker Contracts because they will receive proper

 notice of the Motion and the proposed rejection.

III.    Waiver of the Requirements of Bankruptcy Rule 6006(f)(6) is Appropriate.

        19.     By the Motion, the Debtor seeks to reject 226 Broker Contracts. Bankruptcy

 Rule 6006(f)(6) requires that an omnibus motion to reject multiple executory contracts or

 unexpired leases “be limited to no more than 100 executory contracts or unexpired leases.”

 However, the 2007 Advisory Committee Note to Rule 6006 states that “[a]n omnibus motion to

 assume, assign, or reject multiple executory contracts and unexpired leases must comply with the

 procedural requirements set forth in subdivision (f) of the rule, unless the court orders

 otherwise.” Thus, courts will waive the requirements of Bankruptcy Rule 6006(f)(6) for cause.

 See, e.g., In re Old Carco LLC, 406 B.R. 180, 207–10 (Bankr. S.D.N.Y. 2009) (citing the

 advisory committee notes and permitting more than 100 agreements to be rejected through one

 motion when (i) the rejected agreements were substantially similar, (ii) all of the rejected

 agreements were subject to a single comprehensive analysis by the debtors, and (iii) all of the



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agreements were being rejected and not assigned to the reorganized entity). As the court noted in

Old Carco, counterparties to the rejected agreements could easily find their names on the list of

counterparties, and “it would not have advanced the process by requiring the Debtors to file eight

separate motions requesting the same relief.” Id. at 210.

       20.     The Debtor respectfully submits that cause exists to waive the requirements of

Bankruptcy Rule 6006(f)(6). First, all of the executory contracts addressed by this Motion are of

the same type and purpose—contracts between the Debtor and its Brokers. The Broker Contracts

are, in large part, substantially identical to each other. Second, the Debtor’s rationale for

rejecting the Broker Contracts, and the legal and factual support for these determinations, apply

equally to all Broker Contracts. Third, each Broker will receive a copy of this Motion and the

requited notice. Thus, the Debtor submits that the Brokers will receive sufficient and proper

notice. In this instance, requiring multiple motions would unnecessarily deplete the bankruptcy

estate’s and the Court’s resources, and would not result in the Brokers receiving better notice.

       21.     Under these circumstances, the Debtor submits that the Court should waive the

requirements of Bankruptcy Rule 6006(f), thereby permitting the Debtor to seek rejection of all

of the Broker Contracts by and through this one Motion. See Fed. R. Bankr. P. 6006 advisory

committee’s note (stating the drafting committee’s intent that a court may order exceptions to

Fed. R. Bankr. P. 6006(f) for an omnibus motion).

                                      MOTION PRACTICE

       22.     This Motion includes citations to the applicable rules and statutory authorities

upon which the relief requested herein is predicated and a discussion of their application to this

motion. Accordingly, the Debtor submits that this Motion satisfies Local Rule 9013-1(a).




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                                  RESERVATION OF RIGHTS

        23.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of

any claim against the Debtor under the Bankruptcy Code or other applicable nonbankruptcy law;

(b) a waiver of the Debtor’s or any other party in interest’s right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this motion or any order granting the relief

requested by this motion or any order granting the relief requested by this motion or a finding

that any particular claim is an administrative expense claim or other priority claim; (f) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtor’s estate; (g) a waiver or limitation of the

Debtor’s, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law; or (h) a concession by the Debtor that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in this motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

                                               NOTICE

        24.     The Debtor will provide notice of the Motion to: (a) the United States Trustee; (b)

counsel to PNC Bank, National Association; (c) the holders of the 20 largest unsecured claims

against the Debtor; (d) all official committees appointed, as of the filing of this Motion, in the

Chapter 11 Case and their counsel; (e) the offices of the attorneys general for Ohio,

Pennsylvania, Michigan, Kentucky, and West Virginia; (f) the United States Attorney’s Office

for the Southern District of Ohio; (g) the Internal Revenue Service; (h) the Debtor’s state and



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local taxing authorities in Ohio, Pennsylvania, Michigan, Kentucky, and West Virginia; (i) the

Public Utilities Commission of Ohio, Pennsylvania Public Utilities Commission, Kentucky

Public Service Commission, and Michigan Public Service Commission; (j) the U.S.

Environmental Protection Agency; (k) the Federal Energy Regulatory Commission; (l) any party

that has requested notice pursuant to Bankruptcy Rule 2002; and (m) the Brokers. The Debtor

submits that, in light of the nature of the relief requested, no other or further notice is required.

                                      NO PRIOR REQUEST

         25.    No prior motion for the relief requested herein has been made in this or any other

court.




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       WHEREFORE, the Debtor respectfully requests that the Court enter an order,

substantially in the form of the Proposed Order attached hereto as Exhibit A, (i) authorizing the

Debtor to reject, effective as of the Petition Date, the Broker Contracts; (ii) waiving the

requirements of Bankruptcy Rule 6006(f)(6); and (iii) granting such other and further relief as

the Court deems appropriate.

 Dated: March 30, 2022                            Respectfully submitted,
        Columbus, Ohio
                                                  /s/ Philip K. Stovall
                                                  David M. Whittaker (0019307)
                                                  Philip K. Stovall (0090916)
                                                  ISAAC WILES & BURKHOLDER, LLC
                                                  Two Miranova Place, Suite 700
                                                  Columbus, Ohio 43215-5098
                                                  Tel: (614) 221-2121
                                                  Fax: (614) 365-9516
                                                  Email: dwhittaker@isaacwiles.com
                                                          pstovall@isaacwiles.com

                                                  - and –

                                                  Darren Azman (admitted pro hac vice)
                                                  Natalie Rowles (admitted pro hac vice)
                                                  MCDERMOTT WILL & EMERY LLP
                                                  One Vanderbilt Avenue
                                                  New York, New York 10017-3852
                                                  Tel: (212) 547-5400
                                                  Fax: (212) 547-5444
                                                  Email: dazman@mwe.com
                                                         nrowles@mwe.com

                                                  Proposed Counsel to the Debtor




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                                      Exhibit A

                                   Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                              )
    In re:                                                    )        Chapter 11
                                                              )
    VOLUNTEER ENERGY SERVICES, INC.,                          )        Case No. 22-50804
                                                              )
                                        Debtor.1              )        Judge C. Kathryn Preston
                                                              )

                      ORDER (I) AUTHORIZING AND APPROVING THE
                     REJECTION OF CERTAIN EXECUTORY CONTRACTS
                  EFFECTIVE AS OF THE PETITION DATE; AND (II) WAIVING
                   THE REQUIREMENTS OF BANKRUPTCY RULE 6006(f)(6)
                             [RELATED TO DOCKET NO. [__]]

             Upon the motion (Doc. __) (the “Motion”)2 of the Debtor for entry of an order (this

“Order”): (i) authorizing the Debtor to reject, effective as of the Petition Date, the Broker

Contracts; and (ii) waiving the requirements of Bankruptcy Rule 6006(f)(6), all as more fully set




1
      The last four digits of the Debtor’s federal tax identification are (2693), and the address of the Debtor’s
      corporate headquarters is 790 Windmiller Drive, Pickerington, Ohio 43147.
2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
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forth in the Motion; and this Court having reviewed the Motion and having heard the statements

in support of the relief requested therein at a hearing before the Court; and upon consideration of

the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Standing Order of Reference entered in this District; and the

matter being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and venue of this

proceeding and the Motion in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and the Court being able to issue a final order consistent with Article III of the United States

Constitution; and due and sufficient notice of the Motion having been given under the particular

circumstances; and it appearing that no other or further notice is necessary; and it appearing that

the relief requested in the Motion is in the best interests of the Debtor, its estate, creditors, and

other parties in interest; and after due deliberation thereon; and good and sufficient cause

appearing therefor; it is hereby

        ORDERED, ADJUDGED, AND DECREED that:

        1.      The Motion is granted as set forth herein.

        2.      The Broker Contracts listed on Schedule 1 hereto are rejected under Bankruptcy

Code section 365, effective as the Petition Date.

        3.      The requirements of Bankruptcy Rule 6006(f)(6) are hereby waived for the

purposes of the Motion.

        4.      The Debtor and its claims and noticing agent are authorized to take all actions

necessary to effectuate the relief granted pursuant to this Order.

        5.      This Order shall be effective and enforceable immediately upon entry hereof.




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       6.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

       SO ORDERED.



Copies to: Default List.




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                                     Schedule 1

                                  Broker Contracts
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                          Name                                              Address                                City        State        Zip       Description
ABA Energy Partners Inc.                             9435 Waterstone Blvd             Suite 140             Cincinnati         OH      45249        Broker Contract
Abba Enterprises Unlimited LLC                       2754 Shady Ridge Dr                                    Columbus           OH      43231        Broker Contract
Ablahad Salmo                                        686 Pine Ridge Avenue                                  Oxford             MI      48371        Broker Contract
Academy Utility Consultants                          53125 Alyssa Ct.                                       Shelby Twp         Mi      48315        Broker Contract
Action Business Services LLC                         157 Minges Circle                                      Battle Creek       MI      49015        Broker Contract
Adam N Girard                                        232 Rocky Fork Dr S                                    Columbus           OH      43230        Broker Contract
AES - Alternative Energy Source                      8225 Farnsworth Road A-10                              Waterville         OH      43566        Broker Contract
Alternate Energy Suppliers                           680 Shoreline Dr.                                      Fenton             MI      48430        Broker Contract
Alternative Gas & Electric Solutions, LLC            5577 Airport Hwy. Suite 101                            Toledo             OH      43615        Broker Contract
Alternative Utility Services, Inc. (AUS)             P O Box 250                                            Lake Geneva        WI      53147        Broker Contract
Amerex Brokers LLC                                   One Sugar Creek Center Blvd.     Suite 700             Sugar Land         TX      77478        Broker Contract
AMPO Inc.                                            1111 Shrock Rd.                  Suite 100             Columbus           OH      43229-1155   Broker Contract
AMPO Inc.                                            1111 Shrock Rd.                  Suite 100             Columbus           OH      43229-1155   Broker Contract
AMT Telecom                                          6905 Telegraph Rd. - Suite 155                         Bloomfield Hills   MI      48301        Broker Contract
Amy Avery                                            6658 N Meadows Pass                                    Dexter             MI      48130        Broker Contract
Andrew Skedo                                         40142 Denbigh                                          Sterling Heights   MI      48310        Broker Contract
Antoinette Weathers                                  5701 Suburban Court                                    Flint              Mi      48505        Broker Contract
Aspen Energy                                         4789 Rings Road                  Suite 100             Dublin             OH      43017        Broker Contract
Asset Energy LLC                                     8961 Oakcrest Way                                      West Chester       OH      45069        Broker Contract
Athens Area Chamber of Commerce                      340 W State Street               Suite 242             Athens             OH      45701        Broker Contract
Baroda Group LLC                                     15851 South US 27                Building 20- Suite 22 Lansing            MI      48906        Broker Contract
BHP Energy LLC d/b/a GEM Energy                      6842 Commodore Dr                                      Walbridge          OH      43465        Broker Contract
BidUREnergy, Inc.                                    4455 Genesee Street                                    Buffalo            NY      14225        Broker Contract
Blue Flame                                           9824 East Washington Street                            Chagrin Falls      OH      44023        Broker Contract
Blue Print Energy Group                              19707 Chagrin Blvd                                     Shaker Hieights    OH      44122        Broker Contract
Bradley Lewis dba Creative Energy                    13900 Nicklaus Dr.                                     Overland Park      KS      66223        Broker Contract
Broker Online Exchange                               1 Paragon Drive, Suite 255                             Montvale           NJ      07645        Broker Contract
Buckeye Energy Brokers, Inc.                         66 East Mill Street                                    Akron              OH      44308        Broker Contract
Burton Energy Group                                  11675 Great Oaks Way             Suite 350             Alpharetta         GA      30022        Broker Contract
Cambridge Area Chamber of Commerce                   607 Wheeling Ave                                       Cambridge          OH      43725        Broker Contract
Caroline Cieminski                                   6923 Oleander Court                                    Liberty Township   OH      45044        Broker Contract
CCAOSC Energy Solutions, LLC. d/b/a Palmer Energy    5577 Airport Highway             Ste. 101              Toledo             OH      43615        Broker Contract
CEH Consulting LLC                                   1460 Rosina Dr                                         Miamisburg         OH      45342        Broker Contract
Chamber Energy Solutions, LLC. d/b/a Palmer Energy   5577 Airport Hwy                 Ste. 101              Toledo             OH      43615        Broker Contract
Chase Tek Corporation                                1201 Dublin Road                                       Columbus           OH      43215        Broker Contract
Cherrydale a/k/a Commercial Service Broker           355 W. Columbia Ave              Suite #208            Battle Creek       MI      49015        Broker Contract
Choice Energy Services Retail                        5151 San Felipe St.              Suite 2200            Houston            TX      77056        Broker Contract
Clifford Walker III                                  131 Delaware Street SE                                 Grand              MI      49507-1125   Broker Contract
Commercial & Industrail Energy                       17570 Fairlawn Drive                                   Chagrin Falls      OH      44023        Broker Contract
Commercial Service Broker                            355 W. Columbia Ave              Suite #208            Battle Creek       MI      49015        Broker Contract



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                         Name                                       Address                       City        State        Zip       Description
Community Energy Advisers                   3725 Medina Road                  Suite 112    Medina             OH      44256        Broker Contract
Compass Enterprises                         P O Box 611527                                 Port Huron         MI      48061        Broker Contract
Consumer Energy Solutions Inc.              1255 Cleveland St                              Clearwater         FL      33755        Broker Contract
ConsumerChoice Marketing                    1331 Conant Street                Suite 201    Maumee             OH      43537        Broker Contract
ConsumerChoice Marketing                    409 Adams St.                                  Toledo             OH      43604        Broker Contract
Consumers Energy Options                    1057 Briarcliffe Dr                            Flint              MI      48532        Broker Contract
Curago Energy LLC                           8526 Pitlochry Court                           Dublin             OH      43017        Broker Contract
Corporate Energy Services                   8880 Christie Drive                            Largo              FL      33771        Broker Contract
CVC Co LLC                                  1528 Guilford Road                             Columbus           OH      43221        Broker Contract
Dan Gheesling                               7626 Barnsbary                                 West Bloomfield    MI      48234        Broker Contract
Dave Erich                                  45 Copley Circle                               Springboro         OH      45066        Broker Contract
David Donahue                               10245 Twin Ponds Dr                            Goodrich           MI      48438        Broker Contract
David Printup                               917 Poppy Hills                                Blacklick          OH      43004        Broker Contract
David Tomlin                                11102 SW 73 RD CT                              Ocala              FL      34476        Broker Contract
Daybreak Energy                             8069 Garnet Ave NE                             Canton             OH      44721        Broker Contract
Dena Leginski                               9830 Allen Road                                Allen Park         MI      48101        Broker Contract
Dennis Giancola d/b/a H.P. Technologies     8834 Mayfield Rd                               Checterfield       OH      44026        Broker Contract
Derrick Parker                              P O Box 17213                                  Lakeside Park      KY      41017        Broker Contract
Diversified Energy                          1044 Kinder                                    Toledo             OH      43615        Broker Contract
Dyna Flow LLC                               5179 Buckington Place                          Troy               MI      48098        Broker Contract
ECOVA Tharaldson Group a/k/a Engie          1313 North Atlantic St.           Suite 5000   Spokane            WA      99201        Broker Contract
EGC Ltd.                                    733 E Dublin Granville Road       Suite 202    Columbus           OH      43229        Broker Contract
Electric & Gas Savings LLC                  10221 Centrepark Dr               Apt # 1228   Houston            TX      77043        Broker Contract
Elizabeth Young                             36249 Chaskey St                               Richmond           MI      48062        Broker Contract
Emuna Energy                                629 Euclid Ave                    Suite 1300   Cleveland          OH      44114        Broker Contract
Enel X North America, Inc.                  One Marina Park Dr., Suite 400                 Boston             MA      02210        Broker Contract
EnerCom Inc                                 30700 Telegraph Road              Suite 3455   Bingham            MI      48025-4592   Broker Contract
Enerconnex LLC                              4140 Clark Shaw Road                           Powell             OH      43065        Broker Contract
Energen Inc.                                P.O. Box 533                                   Cuyahoga Falls     OH      44222        Broker Contract
Energy Alliances, Inc.                      8469 Blue Ash Road                             Cincinnati         OH      45236        Broker Contract
Energy Auction Exchange LLC                 893 West Baxter Drive             Suite 250    South Jordan       UT      84095-8506   Broker Contract
Energy Choice LLC                           17122 Arthur Court                             Spring Lake        MI      49456        Broker Contract
Energy Cost Savers                          3601 Green Road                   Suite 304    Cleveland          OH      44122        Broker Contract
Energy Edge Strategic Solutions             9601 Katy Freeway                 Suite 450    Houston            TX      27024        Broker Contract
Energy Impact                               4200 Regent Street                Suite 200    Columbus           OH      43219        Broker Contract
Energy Professionals                        1315 Cleveland Street                          Clearwater         FL      33755        Broker Contract
Energy Revenue - Beisner and Beisner        3665 Elroy-Ansonia Rd.                         Ansonia            OH      45303        Broker Contract
Enstar Energy LLC                           6810 S Cedar Street               Suite 16     Lansing            MI      48911        Broker Contract
ERC Services LLC                            387 Golfview, Suite 100                        Highland Heights   OH      44143        Broker Contract
Executive Assistant Service                 2103 Sandstone Dr                              Jenison            MI      49428        Broker Contract



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                         Name                                               Address                         City       State        Zip       Description
FirstEnergy Solutions Dba The E Group                10350 Ormsby Park Place            Suite 400   Louisville         KY      40223        Broker Contract
Five Gems                                            32432 Willoughby Road Apt 1                    Farmington Hills   MI      48334        Broker Contract
Fred Holmes                                          147 Pine Grove Dr                              Nelsonville        OH      45764        Broker Contract
Global Deregulation Services Inc                     1300 East Lafayette - Suite 1009               Detroit            MI      48227        Broker Contract
Good Energy L.P.                                     232 Madison Ave.                   3rd Floor   New York           NY      10016        Broker Contract
Green Power Source                                   5830 Ramblewood Ct                             Brighton           MI      48116        Broker Contract
Greenlight Marketing LLC                             6735 Monarch Drive                             Sylvania           Oh      43560        Broker Contract
Growers Energy Solutions, LLC. d/b/a Palmer Energy   5577 Airport Hwy.                  Ste. 101    Toledo             OH      43615        Broker Contract
GSA Group                                            704 North Old Woodward                         Brimingham         MI      48009        Broker Contract
Habes LLC                                            824 Rollins Meadows                            Quincy             MI      49082        Broker Contract
HealthTrust Purchasing Group                         P.O. Box 751576                                Charlotte          NC      28275-1576   Broker Contract
Heartland Energy                                     4988 South Mukford Road                        Rockford           IL      61109        Broker Contract
HPS LLC                                              3275 N M-37 Highway                            Middleville        MI      49333        Broker Contract
Huck Hayes d/b/a Alternative Energy Source           8225 Farnsworth Road               Suite A     Waterville         OH      43566        Broker Contract
Ice Solutions Inc                                    8701 Maravilla Drive                           Fort Wayne         IN      46815        Broker Contract
International Marketing Business Group Ltd (IMBG)
dba Nu Energy Solutions                              3454 Oak Alley Court             Suite 300     Toledo             OH      43606        Broker Contract
Independent Energy Consultants Inc                   215 W Garfield Road              Suite 210     Aurora             OH      44202        Broker Contract
Industrial and Commercial Energy Cons.               5846 Cedar Point Road                          Oregon             OH      43616        Broker Contract
Insight Sourcing Group                               5555 Triangle Parkway, Suite 300               Norcross           GA      30092        Broker Contract
Integrity Energy                                     5711 Grant Ave                                 Cleveland          OH      44105        Broker Contract
Irish Energy Group LLC                               206 High Street                                Somerset           OH      43783        Broker Contract
JAC Technologies                                     1348 King Highway                              Kalamazoo          MI      49001        Broker Contract
Jackson Area Chamber of Commerce                     234 Broadway Street                            Jackson            OH      45640        Broker Contract
Jackson Metropolitan Housing Authority               249 West 13th Street                           Wellston           OH      45692        Broker Contract
Jamie Warner                                         1209 Lakeshore Drive                           Columbus           OH      43204        Broker Contract
JARSCO LLC                                           P.O. Box 153                                   Lithopolis         OH      43136        Broker Contract
Jeff Brandt                                          22150 Swan Street                Apt 833       South Lyon         MI      48178        Broker Contract
Jieun Yoon                                           698 Ridgeview Ter                              Fremont            CA      94536        Broker Contract
Jim Rosenthal                                        1975 Jason Drive                               Commerce Twp MI            48382        Broker Contract
JME Leadership Committee LLC                         11400 King Road                                Concord            MI      49237        Broker Contract
Joel Heron                                           3300 North Branch Road                         North Branch       MI      48461-9391   Broker Contract
John C. Costa                                        1056 Somerset Ave                              Grosse Pointe Park MI      48230        Broker Contract
John R Wiles                                         10301 N Crosset Hill Dr                        Pickerington       OH      43147        Broker Contract
John Urmetz                                          237 Justo Ln                                   Independence       OH      44131        Broker Contract
Jon Dunbar                                           621 E Sunset Drive                             North Muskegon MI          49445        Broker Contract
Jon Jurhs                                            5058 Huntington Drive                          Carmel             IN      46033        Broker Contract
Jonathan Firetage                                    17124 Hilton                                   Southfield         MI      48075        Broker Contract
KBK Group                                            1971 Beverly Road                              Columbus           OH      43221        Broker Contract
Kristine Mahan                                       5949 Whitneyville Ave SE                       Alto               MI      49302        Broker Contract



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Lakepoint Energy LLC                      2640 Covington Place                           Avon               OH      44011       Broker Contract
Landmark Real Estate                      P. O. Box 611527                               Port Huron         MI      48061       Broker Contract
Larry Hughes                              4475 Har rods St                               Groveport          OH      43125       Broker Contract
Lawrence Popiel                           6612 N. Evangeline                             Dearborn Heights   MI      48127       Broker Contract
LCI Networking LTD                        1303 Titlesit Dr                               Akron              OH      44312       Broker Contract
Lights Out Energy                         3922 Eileen Drive                              Cincinnati         Oh      45209       Broker Contract
Logan-Hocking Chamber of Commerce         96 W Hunter Road                               Logan              OH      43138       Broker Contract
Logical Communication Services, LLC       39340 US Highway 19N                           Tarpon Springs     FL      34689       Broker Contract
Lyons Consulting LLC                      4611 Pine Ave                                  Holland            MI      49423       Broker Contract
M&S SpeedForce, LLC.                      10178 Portage St NW                            Canal Fulton       OH      44614       Broker Contract
Madison Blair and Co.                     829 Westhaven Blvd.                            Lansing            MI      48917       Broker Contract
Magic Diamond Tools, Inc.                 32450 Chesterbrook St.                         Farmington Hills   MI      48334       Broker Contract
Marc Sosnowski                            8488 Kinloch Street                            Dearborn Heights   MI      48127       Broker Contract
Mark Brickley                             248 Postage Circle                             Pickerington       OH      43147       Broker Contract
Mark Coffey                               4818 Windswept Drive                           Milford            MI      48380       Broker Contract
Mark Gahn                                 7511 McDonald Road                             Cheboygan          MI      49721       Broker Contract
Matthews Marketing                        P.O, Bix 312                                   Williamstown, W    VA      26187       Broker Contract
Michael Capuano                           1528 Guilford                                  Columbus           OH      43221       Broker Contract
Michigan 4 Energy LLC                     P O Box 35                                     Walled Lake        MI      48390       Broker Contract
Michigan Retailers Association            603 South Washington Ave.                      Lansing            Mi      48933       Broker Contract
Midwest Energy Inc.                       60590 Decatur Road                             Cassopolis         MI      49031       Broker Contract
Midwest Utility Consultants , Inc.        5123 Romohr Road                               Cincinnati         OH      45244       Broker Contract
Mike Kennedy                              2604 Chateau Drive                             Catawba Island     OH      43452       Broker Contract
Monumental Energy LLC                     177 24th St NW                                 Barberton          OH      44203       Broker Contract
MSI Utilities Inc                         4250 Metro Place N Suite 330                   Dublin             OH      43017       Broker Contract
Muirfield Energy                          425 Metro Place North             Suite 550    Dublin             OH      43017       Broker Contract
Muirfield Energy                          425 Metro Place North             Suite 550    Dublin             OH      43017       Broker Contract
Natalie Girard                            232 Rocky Fork Dr S                            Columbus           OH      43230       Broker Contract
National Energy Experts, Inc              3216 East Creek Ct                             Avon               Oh      44011       Broker Contract
National Sales Systems, LLC.              920 S. Orchard Hill Dr.                        Casnovia           MI      49318       Broker Contract
Nelsonville Area Chamber                  P O Box 276                                    Nelsonville        OH      45764       Broker Contract
New American Power                        41 University Dr Suite 400                     Newtown            PA      18940       Broker Contract
New River Group, LLC.                     4041 North High Street            Suite 202    Columbus           Oh      43214       Broker Contract
Nick Barlow                               526 144th Ave                                  Caledonia          MI      49316       Broker Contract
Nicolas Andreasson                        2486 Orchard Lake Road                         Sylvan Lake        MI      48320       Broker Contract
North Shore Energy Consulting             18843 White Oak DR.                            Chagrin Falls      OH      44023       Broker Contract
Northeast Energy Partners                 100 Front Street                  20th Floor   Worcester          MA      01608       Broker Contract
OGW Energy Resources                      P O Box 351                                    Tipp City          OH      45371       Broker Contract
OHIO EIC                                  1948 Williams Way                              Wooster            OH      44691       Broker Contract
Ohio Energy Management LLC                3408 Warren Road                  Suite 1      Cleveland          OH      44111       Broker Contract



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                       Name                                                   Address                          City         State   Zip         Description
Ohio Industrials                                       1231 Cambridge Blvd                               Columbus           OH 43212          Broker Contract
On-Demand Energy, LP                                   500 Cherrington Pkwy.          Suite 400          Moon Township      PA 15108          Broker Contract
One Source                                             17199 N. Laurel Park Drive     Suite 260          Livonia            MI 48152          Broker Contract
                                                                                      13155 Noel Road
Onyx Power & Gas Consulting                            3 Galleria Tower               Suite 900          Dallas             TX   75240        Broker Contract
Open Energy LLC                                        33228 West 12 Mile Road #294                      Farmington Hills   MI   48334        Broker Contract
Options Consulting Services                            409 Adams St.                                     Toledo             OH   43604        Broker Contract
Palmer Energy Company, Inc.                            5577 Airport Highway           Ste. 101           Toledo             OH   43615        Broker Contract
Patricia Hancz                                         5467 Stewart Road                                 Monroe             MI   48162        Broker Contract
Paul Pickell                                           3625 Tara Drive                                   Highland           MI   48356        Broker Contract
Performance Group of America LLC                       5675 Landsburg Road                               Feenville          MI   49408        Broker Contract
Pickerington Area Chamber of Commerce                  21 Lockville Road              Suite 100          Pickerington       OH   43147        Broker Contract
Power Bid                                              5055 Enterprise Rd.                               Toledo             OH   43612        Broker Contract
Pure Energy Source                                     Melanie Zoma                   7269 Silverbeech   West Bloomfield    MI   48323        Broker Contract
RD Energy Inc.                                         20 Meadow Wood Dr.                                Granville          OH   43023        Broker Contract
Regor Energy Corporation                               9604 Cliffview Street NW                          Clinton            OH   44216        Broker Contract
Revenue Group Salesloft Division                       3711 Chester Ave                                  Cleveland          OH   44114        Broker Contract
Rick Ebaugh                                            21726 Gregory                                     Dearborn           MI   48124        Broker Contract
Rick Sible                                             920 S Orchard Hill Drive                          Casnovia           MI   49318        Broker Contract
S J Cobb & Associates                                  1411 Park Avenue West                             Mansfield          OH   44906        Broker Contract
SCEW                                                   5736 Whitehaven Dr                                Lansing            MI   48917        Broker Contract
Schneider Electric fka Summit Energy Ser.              25716 Network Place                               Chicago            IL   60673-1257   Broker Contract
Schneider Electric fka Summit Energy Ser.              10350 Ormsby Park Place        Suite 400          Louisville         KY   40223        Broker Contract
SCioto Energy                                          4041 North High St             Suite 202          Columbus           OH   43214        Broker Contract
Scott Hayes                                            4759 Quarton Road                                 Bloomfield Hills   MI   48301        Broker Contract
Shamie Development, Inc                                26111 W 14 Miles Road          Suite #LL-4        Franklin           MI   48025        Broker Contract
Sheree Hill                                            46675 W. Seven Mile                               Northville         MI   48167        Broker Contract
Simple Energy                                          1607 E Big Beaver Road         Suite 310          Troy               MI   48083        Broker Contract
South East Energy Consultants LLC                      2328 US Highway 19 N                              Holiday            FL   34691        Broker Contract
Southern Energy Alliance & Holding                     133 Canopy Lane                                   Summerville        SC   29485        Broker Contract
Steve Mintz                                            12 Windward Way                                   Chagrin Falls      OH   44023        Broker Contract
Strategic Energy Service                               1528 Guilford                                     Columbus           OH   43221        Broker Contract
Sun & Young, Inc                                       32450 Chesterbrook St.                            Farmington Hills   MI   48334        Broker Contract
Sun Heating & Cooling Inc                              766 Industrial Court                              Bloomfield Hills   MI   48302        Broker Contract
Supernova Partners, LLC a/k/a Affordable Gas & Electric15535 Easy Ridge Ct.                              Chesterfield       MO   63017        Broker Contract
Supernova Partners, LLC a/k/a Affordable Gas & Electric10749 E Garden Rd                                 Mt Vernon          IL   62864        Broker Contract
Svetlana Newberry                                      1524 Sheepshead Bay Rd. Apt 5A                    Brooklyn           NY   11235        Broker Contract
Tacuma Swanson                                         163 Barnof East                                   Westerville        OH   43081        Broker Contract
Taylor Energy Partners LLC                             91 Carl Drive                                     Ada                MI   49301        Broker Contract
Taylor Marketing Group                                 91 Carl Drive                                     Ada                MI   49301        Broker Contract



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TEF Energy Solutions                              6157 Walnut Hills Blvd                              West Bloomfield    MI      48322        Broker Contract
TEK Utilities LLC                                 1880 Mackenzie Dr                Ste 207            Columbus           OH      43220        Broker Contract
Telecom Consulting                                75098 Elk Horn Dr                                   Bruce Township     MI      48065        Broker Contract
TES Energy Services                               17480 Dallas Parkway             Ste. 200           Dallas             TX      75287        Broker Contract
The Eagles Nest Worldwide                         P O Box 36                                          Blacklick          OH      43004        Broker Contract
The Pragma Company LLC                            483 Pauly Drive                                     Perrysburg         OH      43551        Broker Contract
Thomas Haefner                                    25072 Castlereigh                                   Farmington Hills   MI      48336        Broker Contract
Tiffany Maholm                                    2327 Sonnington Drive                               TOLEDO             OH      43612-1647   Broker Contract
Tim O'Brien                                       2215 Clawson Avenue #209                            Royal Oak          MI      48073        Broker Contract
Timothy C. Hall Jr                                31915 Kelley RD                                     Burr Oak           MI      49030        Broker Contract
TPI Efficiency                                    2019 Center St                   Suite 502          Cleveland          OH      44113        Broker Contract
Trajectory Services, LLC                          P O Box 26605                                       Akron              OH      44319        Broker Contract
Trane Energy Choice                               P O Box 7410346                                     Chicago            IL      60674-0346   Broker Contract
Trebel LLC                                        1216 Lexington Avenue            Suite 301          Mansfield          OH      44907        Broker Contract
Triple S Energy Management LLC                    2038 Oldtown Valley Road SE                         New Philadelphia   OH      44336        Broker Contract
Triumph Purchasing Network Inc                    1600 West 9 Mie Rd - Ste 515                        Southfield         MI      48075        Broker Contract
Ty Branscum                                       8195 Hickory Ridge Rd                               Holly              MI      48442        Broker Contract
URC Energy a/k/a Stone Pillar                     255 Evernia Street               Unit 511           West Palm Beach    FL      33401        Broker Contract
USave Utilities LLC                               4503 Loggers Run NE                                 Grand Rapids       MI      49525        Broker Contract
Utilities Group Inc                               11260 Chester Road               Suite 540          Cincinnati         OH      45246        Broker Contract
Utility Choice International (UCI)                3960 Medina Road                                    Akron              OH      44333        Broker Contract
Utility Research Inc                              2060 Addaleen Road                                  Highland           MI      48357        Broker Contract
Utility Savings Assn                              26645 W 12 Mile Road             Suite 106          Southfield         MI      48034        Broker Contract
VERB Energy LLC                                   Kevin Riley                      43118 Devon Lane   Canton             MI      48187        Broker Contract
Vibrant Energy Company                            9401 Mentor Ave #237                                Mentor             OH      44060        Broker Contract
Vikron Energy                                     8168 S Bingham Ridge Dr                             Traverse           MI      49684        Broker Contract
WMS Inc.                                          1220 East Joppa Road             Suite 400B         Towson             MD      21286        Broker Contract
World Energy Solutions, Inc. d/b/a EnerNOC, Inc   Dept. CH #16381                                     Palatine           IL      60055-6381   Broker Contract
Worthington Energy Consultants                    1650 Watermark Dr                Suite 180          Columbus           OH      43215        Broker Contract




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